       Case 2:19-cv-08024-ODW-JC Document 49 Filed 01/21/20 Page 1 of 1 Page ID #:812

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 No.             2:19-cv-08024-ODW (JCx)                                  Date   January 21, 2020
 Title           Alan Baker et al v. Allstate Insurance Company et al.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                          N/A
                Deputy Clerk                       Court Reporter / Recorder                   Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                            Not present
 Proceedings:                                 In Chambers

       In light of the parties’ recent Notice of Settlement (ECF No. 48), the Court hereby
ORDERS the parties TO SHOW CAUSE, in writing, no later than February 3, 2020, why
settlement has not been finalized. No hearing will be held. All other dates and deadlines in
this action are VACATED and taken off calendar. The Court will discharge this order upon the
filing of a dismissal that complies with Federal Rule of Civil Procedure 41.

         IT IS SO ORDERED.



                                                                                     :    00
                                                   Initials of Preparer   SE




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                   Page 1 of 1
